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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 Ramona Thurman Bivins
    Plaintiff,
       v.                                   CIVIL ACTION FILE
                                            NO. 1:22-cv-4149-WMR

 Felicia Franklin in her individual and
 official capacities, et al
    Defendants.

                           NOTICE OF HEARING

       Notice is hereby given that the Court sets a hearing on the Motion to

 Dismiss [Doc 22] and the Motion for Judgment on the Pleadings [Doc 29] in

 this case for Friday, March 17, 2023 at 1:30 p.m. before the Honorable

 William M. Ray, II. . The hearing will take place in Courtroom 1705 of the

 Richard B. Russell Federal Building located at 2211 United States

 Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303-3309.

      The Court will consider conducting the hearing via ZOOM Video if either

(1) if counsel who will be arguing the motion is located outside the Northern

District of Georgia; or (2) if there is an extenuating circumstance that warrants

a Zoom hearing.
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     Each side shall submit prior to the start of the hearing, a proposed

order which includes findings of fact and conclusions of law for each

motion being heard. Orders should be submitted by email to:

sherri_lundy@gand.uscourts.gov.

     SO ORDERED, this 15th day of February, 2023.
